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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MICHIGAN

In re:
                                                            Chapter 11
BARFLY VENTURES, LLC, et al, 1                              Case No. 20-01947-jwb
                                                            Hon. James W. Boyd
                      Debtors.
                                                            Jointly Administered
______________________________________/

                    NOTICE OF ENTRY OF AMENDED SALE ORDER


         PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.     On October 15, 2020, the Court entered its Order (I) Authorizing the Sale of

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and

Other Interests, (I) Authorizing the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases, and (III) Granting Related Relief [Docket No. 363] (as amended at

Docket No. 376, the “Sale Order”). Pursuant to the Sale Order, the Court approved the sale (the

“Sale”) of substantially all of the Debtors’ assets to Project BarFly LLC on the terms set forth in

that certain Asset Purchase Agreement dated July 9, 2020 [Docket No. 376, Ex. B] (as amended,

the “APA”).


1
    The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt,
    LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
    Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a
    HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC
    (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR
    Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a
    HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC
    (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-
    Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108),
    HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak,
    LLC (1935), HopCat-St. Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron
    Public Hou The Sale closed on October 26, 2020 at 12:01 a.m. (Eastern Time). se, LLC and
    McFadden’s Restaurant Saloon)(4255).
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         2.     The Sale closed on October 26, 2020 at 12:01 a.m. (Eastern Time).

         3.     Any individual or entity that would like to obtain a copy of the Sale Order or the

APA, may make a written request to counsel for Debtors by emailing John Lucas at

jlucas@pszjlaw.com, Jason Rosell at jrosell@pszjlaw.com, or Elisabeth Von Eitzen at

evoneitzen@wnj.com.

Dated: November 12, 2020                     WARNER NORCROSS + JUDD LLP

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